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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA

IN RE
PHILIP ANDREW MACKEN,

Debtor

BK-N-23-50950-HLB
Chapter 13

UPDATED STATUS REPORT

Hearing Date: January 15, 2025
Hearing Time: 2:30 p.m.

Debtor, Philip Andrew Macken, by and through his counsel, J. Craig Demetras

of Demetras Law hereby files his Updated Status Report. As of the date of this Status

Report, pending matters include the following:

IRS Claim Objection

The Depositions of Philip Macken and his wife, Dolores Webb Macken, were

taken by the IRS in Reno on November 19, 2024 and November 20, 2024.

The Debtor delivered his Response to Creditor United States’ Second Set of

Interrogatories and his Response to Creditor United States’ Second Set of Requests for

Production on January 6, 2025.

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The Deposition of Mr. Macken’s bookkeeper, Cathy Cunningham, will take
place in Reno on January 17, 2025.

The IRS and the Debtor do not anticipate an extension of the February 26. 2025
discovery deadline.

The parties have agreed to request the Court to set a mediation/settlement
conference at the Court’s convenience during the period of February 25, 2025 through
February 28, 2025.

Plan Payments

To date, the Debtor has paid $97,677 to the Chapter 13 Trustee. Debtor made
payments of $3,275 and $3,695 on January 15, 2025. Copies of the payment confirmatioh

have been emailed to the Chapter 13 Trustee.

DATED this 15" day of January, 2025.

DEMETRAS LAW
/s/ J. Craig Demetras
By: J. Craig Demetras
Attorney for Debtor

